377 F.2d 460
    Patricia RICHARD et al., by their father and next friend,Martel Richard, Appellants,v.Rodney CHRIST, President of the Board of Trustees ofHamshire-Fannett Independent School District etal., Appellees.
    No. 22300.
    United States Court of Appeals Fifth Circuit.
    May 24, 1967.
    
      Theodore R. Johns, Beaumont, Tex., Charles H. Jones, Jr., New York City, W. J. Durham, Dallas, Tex., Jack Greenberg, James M. Nabrit, III, New York City, for appellants.
      Hardy D. Akin, J. B. Morris, Louis V. Nelson, Beaumont, Tex., for appellees.
      Before GEWIN, COLEMAN and GOLDBERG, Circuit Judges.
      PER CURIAM.
    
    
      1
      The appellant, Patricia Richard, brought suit by her father and next friend, Martel Richard, in the United States District Court for the Eastern District of Texas to compel the desegregation of the Hamshire-Fannett Independent School District, Jefferson County, Texas.  The complaint prayed for an order requiring the total and complete desegregation of the school system.  The district court entered an order approving a twelve-year desegregation plan submitted by the school board.  The plaintiff appeals from that order asserting that the plan does not meet the constitutional requirements as set forth in Stell v. Savannah-Chatham County Board of Education, 333 F.2d 55 (5 Cir. 1964).
    
    
      2
      While the case was pending on appeal the district court approved a freedom of choice plan which was submitted by the school district.  The appellees then moved in this court to dismiss the appeal on the grounds of mootness.  By order of the Court the motion was carried with the case.
    
    
      3
      This Court sitting en banc considered at length the question of school desegregation in United States v. Jefferson County Board of Education, 372 F.2d 836 (5 Cir. 1967).  In that opinion the Court set forth in detail the standards which a desegregation plan must meet in order to satisfy constitutional requirements.  We therefore vacate the order of the district court and remand this case for further proceedings in accordance with that opinion.
    
    
      4
      Vacated and remanded.
    
    